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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                                   CASE:

  DOUG LONGHINI,

              Plaintiff,
  v.

  JPMORGAN CHASE BANK, N.A.,

          Defendant.
  ______________________________________/

                                               COMPLAINT

         Plaintiff, DOUG LONGHINI, individually and on behalf of all other similarly situated

  mobility-impaired individuals (hereinafter “Plaintiff”), sues JPMORGAN CHASE BANK, N.A.,

  (hereinafter “Defendant”), and as grounds alleges:

                                JURISDICTION, PARTIES. AND VENUE

         1.          This is an action for injunctive relief, a declaration of rights, attorneys' fees,

  litigation expenses, and costs pursuant to 42 U.S.C. § 12181, et seq., (the “Americans with

  Disabilities Act” or “ADA”) and 28 U.S.C. §§ 2201 and 2202.

         2.           The Court has original jurisdiction over Plaintiff’s claims arising under 42 U.S.C.

  § 12181, et seq. pursuant to 28 U.S.C. §§ 1331, 1343 and 42 U.S.C. § 12117(a).

         3.           The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 2201 and

  2202, and may render declaratory judgment on the existence or nonexistence of any right under 42

  U.S.C. § 12181, et seq.

         4.           Plaintiff, DOUG LONGHINI, is an individual over eighteen years of age, residing

  and domiciled in Florida, and is otherwise sui juris.

         5.           At all times material, Defendant, JPMORGAN CHASE BANK, N.A., owned and
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  operates a commercial retail business located at 11895 Sherry Lane, Miami, Florida (hereinafter

  the “Commercial Property”) and conducted a substantial amount of business in that place of public

  accommodation in Miami-Dade County, Florida.

          6.        At all times material, Defendant, JPMORGAN CHASE BANK, N.A., is an alien

  business organization with its principal place of business in Columbus, Ohio.

          7.        Venue is properly located in the Southern District of Florida because Defendant’s

  Commercial Property is located in Miami-Dade County, Florida, Defendant regularly conducts

  business within Miami-Dade County, Florida, and because a substantial part(s) of the events or

  omissions giving rise to these claims occurred in Miami-Dade County, Florida.

                                     FACTUAL ALLEGATIONS

          8.        Although over twenty-seven (27) years have passed since the effective date of

  Title III of the ADA, Defendant has yet to make its facilities accessible to individuals with

  disabilities.

          9.        Congress provided commercial businesses one and a half years to implement the

  Act. The effective date was January 26, 1992. In spite of this abundant lead-time and the

  extensive publicity the ADA has received since 1990, Defendant continues to discriminate against

  people who are disabled in ways that block them from access and use of Defendant’s businesses

  and properties.

          10.       The ADA prohibits discrimination on the basis of disability in 28 CFR 36.201 and

  requires landlords and tenants to be liable for compliance

          11.       Plaintiff, DOUG LONGHINI, is an individual with disabilities as defined by and

  pursuant to the ADA. DOUG LONGHINI uses a wheelchair to ambulate. DOUG LONGHINI

  has very limited use of his hands and cannot operate any mechanisms which require tight grasping
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  or twisting of the wrist. He also has a great deal of trouble walking or otherwise ambulating

  without the use of a wheelchair. He is limited in his major life activities by such, including but

  not limited to walking, standing, grabbing, grasping and/or pinching.

         12.       Defendant, JPMORGAN CHASE BANK, N.A., owns, operates and oversees the

  Commercial Property, its general parking lot and parking spots.

         13.        The subject Commercial Property is open to the public and is located in Miami,

  Miami-Dade County, Florida.

         14.       The individual Plaintiff visits the Commercial Property and businesses located

  within the Commercial Property, regularly, to include a visit to the Commercial Property and

  businesses located within the Commercial Property on or about May 31, 2019, and encountered

  multiple violations of the ADA that directly affected his ability to use and enjoy the Commercial

  Property and businesses located therein. He often visits the Commercial Property and businesses

  located within the Commercial Property in order to avail himself of the goods and services offered

  there, and because it is approximately five (5) miles from his residence, and is near his friends’

  residences as well as other businesses and restaurants he frequents as a patron. He plans to return

  to the Commercial Property and the businesses located within the Commercial Property within

  thirty (30) days of the filing of this Complaint.

         15.       Plaintiff is domiciled nearby in the same County and state as the Commercial

  Property and the businesses located within the Commercial Property, has regularly frequented the

  Defendant’s Commercial Property and the businesses located within the Commercial Property for

  the intended purposes because of the proximity to his and his friends’ residences and other

  businesses that he frequents as a patron, and intends to return to the Commercial Property and

  businesses located within the Commercial Property within thirty (30) days from the filing of this
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  Complaint.

         16.       The Plaintiff found the Commercial Property, and the businesses located within

  the Commercial Property to be rife with ADA violations. The Plaintiff encountered architectural

  barriers at the Commercial Property, and businesses located within the Commercial Property and

  wishes to continue his patronage and use of each of the premises.

         17.       The Plaintiff has encountered architectural barriers that are in violation of the

  ADA at the subject Commercial Property, and businesses located within the Commercial Property.

  The barriers to access at Defendant’s Commercial Property, and the businesses located within the

  Commercial Property have each denied or diminished Plaintiff’s ability to visit the Commercial

  Property, and businesses located within the Commercial Property, and have endangered his safety

  in violation of the ADA. The barriers to access, which are set forth below, have likewise posed a

  risk of injury(ies), embarrassment, and discomfort to Plaintiff, DOUG LONGHINI, and others

  similarly situated.

         18.       Defendant, JPMORGAN CHASE BANK, N.A., owns and operates a place of

  public accommodation as defined by the ADA and the regulations implementing the ADA, 28

  CFR 36.201 (a) and 36.104. Defendant, JPMORGAN CHASE BANK, N.A. is responsible for

  complying with the obligations of the ADA. The place of public accommodation that Defendant,

  JPMORGAN CHASE BANK, N.A., owns and operates the Commercial Property Business located

  at 11895 Sherry Lane, Miami, Florida.

         19.       Plaintiff, DOUG LONGHINI, has a realistic, credible, existing and continuing

  threat of discrimination from the Defendant’s non-compliance with the ADA with respect to the

  described Commercial Property and the businesses located within the Commercial Property,

  including but not necessarily limited to the allegations in Count I of this Complaint. Plaintiff has
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  reasonable grounds to believe that he will continue to be subjected to discrimination at the

  Commercial Property, and businesses located within the Commercial Property, in violation of the

  ADA. Plaintiff desires to visit the Commercial Property and businesses located therein, not only

  to avail himself of the goods and services available at the Commercial Property, and businesses

  located within the Commercial Property, but to assure himself that the Commercial Property and

  businesses located within the Commercial Property are in compliance with the ADA, so that he

  and others similarly situated will have full and equal enjoyment of the Commercial Property, and

  businesses located within the Commercial Property without fear of discrimination.

         20.      Defendant, JPMORGAN CHASE BANK, N.A., as landlord and owner of the

  Commercial Property Business, is responsible for all ADA violations listed in Count I of this

  Complaint.

         21.      Plaintiff, DOUG LONGHINI, has a realistic, credible, existing and continuing

  threat of discrimination from the Defendant’s non-compliance with the ADA with respect to the

  described Commercial Property and businesses located within the Commercial Property, but not

  necessarily limited to the allegations in Count I of this Complaint. Plaintiff has reasonable

  grounds to believe that he will continue to be subjected to discrimination at the Commercial

  Property, and businesses within the Commercial Property, in violation of the ADA. Plaintiff

  desires to visit the Commercial Property and businesses within the Commercial Property, not only

  to avail himself of the goods and services available at the Commercial Property and businesses

  located within the Commercial Property, but to assure himself that the Commercial Property, and

  businesses located within the Commercial Property are in compliance with the ADA, so that he

  and others similarly situated will have full and equal enjoyment of the Commercial Property, and

  businesses located within the Commercial Property without fear of discrimination.
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           22.      Defendant has discriminated against the individual Plaintiff by denying him

   access to, and full and equal enjoyment of, the goods, services, facilities, privileges, advantages

   and/or accommodations of the Commercial Property, and businesses located within the

   Commercial Property, as prohibited by 42 U.S.C. § 12182 et seq.


                                   COUNT I – ADA VIOLATIONS


           23.      The Plaintiff adopts and re-alleges the allegations set forth in paragraphs 1

   through 21 above as though fully set forth herein.

           24.      Defendant, JPMORGAN CHASE BANK, N.A., has discriminated, and continues

   to discriminate, against Plaintiff in violation of the ADA by failing, inter alia, to have accessible

   facilities by January 26, 1992 (or January 26, 1993, if a Defendant has 10 or fewer employees and

   gross receipts of $500,000 or less). A list of the violations that Plaintiff encountered during his

   visit to the Commercial Property, include but are not limited to, the following:

   Common Areas

           A. Parking

i. Accessible spaces are not on an accessible route violating Section 4.6 of the ADAAG and Section

   502 of the 2010 ADA Standards, the solution is readily achievable.

           B. Entrance Access and Path of Travel

i. The Plaintiff had difficulty traversing the path of travel as there are non-compliant slopes present.

   Violation: The path of travel contains excessive slopes in violation of Section 4.3.7 of the ADAAG

   and Section 403.3 of the 2010 ADA Standards, whose resolution is readily achievable.

ii. The Plaintiff had difficulty using some of the curb ramps as the slopes were excessive. Violation:

   There are curb ramps at the facility that contain excessive slopes or cross slopes in violation of
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    Sections 4.7.2 and 4.7.5 of the ADAAG and Sections 406.1 and 405.2 of the 2010 ADA Standards,

    whose resolution is readily achievable.

iii. The Plaintiff had difficulty traversing the path of travel as it was not continuous and accessible.

    Violation: There is no accessible routes from the public sidewalks, bus stops and between the

    buildings. These are violations of the requirements in Section 4.3.2 of the ADAAG and Section

    206.2.2 of the 2010 ADA Standards, whose resolution is readily achievable.

iv. Ramps encroach on the main doors of the building, in violation of Section 4.13 of the ADAAG,

    whose resolution is readily achievable.

            C. Access to Goods and Services

  i. The Plaintiff could not use the counters as they are mounted too high. Violation: There are counters

    throughout the facility in excess of 36”, in violation of Section 7.2(1) of the ADAAG and Sections

    227.3 and 904.4 of the 2010 ADA Standards, whose resolution is readily achievable.

 ii. The facility fails to make reasonable accommodations in policies, practices and procedures to

    provide full and equal enjoyment of disabled individuals and does not maintain the elements that

    are required to be readily accessible and usable by persons with disabilities in violation of Section

    36.211 of the ADAAG and the 2010 ADA Standards.

iii. The customer working surface slips and pens are beyond reach of disabled patrons in violation of

    the ADAAG.

            D. Public Restrooms

 i. The Plaintiff could not safely flush the toilet as the controls are not located on the open side.

    Violation: Compliant controls are not provided in the restrooms prescribed in Section 4.16 of the

    ADAAG and Section 604 of the 2010 ADA Standards, whose resolution is readily achievable.

ii. The Plaintiff could not use the lavatory as the required knee clearance was not provided. Violation:
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    The lavatories in the restroom provided do not meet the requirements prescribed in Section 4.24

    of the ADAAG and Section 306.3.3 of the 2010 ADA Standards, whose resolution is readily

    achievable.

iii. Plaintiff could not use the mirror as it was mounted too high. Violation: The mirrors provided for

    public use in the restroom violate Section 4.19 of the ADAAG and Section 603 of the 2010 ADA

    Standards, resolution is readily achievable.

iv. Plaintiff could not use the coat hook that is mounted too high. Violation: Coat hooks provided for

    public use in the restroom, outside the ranges prescribed in Section 4.2 of the ADAAG and

    Sections 308 and 309 of the 2010 ADA Standards, whose resolution is readily achievable.


                                  RELIEF SOUGHT AND THE BASIS

            25.      The discriminatory violations described in Count I are not an exclusive list of the

    Defendant’s ADA violations. Plaintiff requests an inspection of the Defendant’s places of public

    accommodation in order to photograph and measure all of the discriminatory acts violating the

    ADA and barriers to access in conjunction with Rule 34 and timely notice. Plaintiff further requests

    to inspect any and all barriers to access that were concealed by virtue of the barriers' presence,

    which prevented Plaintiff, DOUG LONGHINI, from further ingress, use, and equal enjoyment of

    the Commercial Business and businesses located within the Commercial Property; Plaintiff

    requests to be physically present at such inspection in conjunction with Rule 34 and timely notice.

    A complete list of the Subject Premises’ ADA violations, and the remedial measures necessary to

    remove same, will require an on-site inspection by Plaintiff’s representatives pursuant to Federal

    Rule of Civil Procedure 34.

            26.      The individual Plaintiff, and all other individuals similarly situated, have been

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  denied access to, and have been denied full and equal enjoyment of the goods, services, facilities

  privileges, benefits, programs and activities offered by Defendant, Defendant’s buildings,

  businesses and facilities; and has otherwise been discriminated against and damaged by the

  Defendant because of the Defendant’s ADA violations as set forth above.               The individual

  Plaintiff, and all others similarly situated, will continue to suffer such discrimination, injury and

  damage without the immediate relief provided by the ADA as requested herein. In order to remedy

  this discriminatory situation, the Plaintiff requires an inspection of the Defendant’s place of public

  accommodation in order to determine all of the areas of non-compliance with the Americans with

  Disabilities Act.

         27.          Defendant has discriminated against the individual Plaintiff by denying him

  access to full and equal enjoyment of the goods, services, facilities, privileges, advantages and/or

  accommodations of its place of public accommodation or commercial facility, in violation of 42

  U.S.C. § 12181 et seq. and 28 CFR 36.302 et seq. Furthermore, the Defendant continues to

  discriminate against Plaintiff, and all those similarly situated, by failing to make reasonable

  modifications in policies, practices or procedures, when such modifications are necessary to afford

  all offered goods, services, facilities, privileges, advantages or accommodations to individuals with

  disabilities; and by failing to take such efforts that may be necessary to ensure that no individual

  with a disability is excluded, denied services, segregated or otherwise treated differently than other

  individuals because of the absence of auxiliary aids and services.

         28.          Plaintiff is without adequate remedy at law, will suffer irreparable harm, and has

  a clear legal right to the relief sought. Further, injunctive relief will serve the public interest and

  all those similarly situated to Plaintiff. Plaintiff has retained the undersigned counsel and is

  entitled to recover attorneys’ fees, costs and litigation expenses from Defendant pursuant to 42
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   U.S.C. § 12205 and 28 CFR 36.505.

          29.        A Defendant is required to remove the existing architectural barriers to the

   physically disabled when such removal is readily achievable for their place of public

   accommodation, the Plaintiff and all others similarly situated, will continue to suffer such

   discrimination, injury and damage without the immediate relief provided by the ADA as requested

   herein. In order to remedy this discriminatory situation, the Plaintiff requires an inspection of the

   Defendant’s place of public accommodation in order to determine all of the areas of non-

   compliance with the Americans with Disabilities Act.

          30.        Notice to Defendant is not required as a result of the Defendant’s failure to cure

   the violations by January 26, 1992 (or January 26, 1993, if a Defendant has 10 or fewer employees

   and gross receipts of $500,000 or less). All other conditions precedent have been met by Plaintiff

   or waived by the Defendant.

          31.        Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant

   Plaintiff Injunctive Relief, including an order to alter the property where Defendant operate its

   businesses, located at and/or within the commercial property located at 11895 Sherry Lane, Miami,

   Florida, the exterior areas, and the common exterior areas of the Commercial Property and

   businesses located within the Commercial Property, to make those facilities readily accessible and

   useable to the Plaintiff and all other mobility-impaired persons; or by closing the facility until such

   time as the Defendant cure the violations of the ADA.

          WHEREFORE, the Plaintiff, DOUG LONGHINI, respectfully requests that this Honorable

   Court issue (i) a Declaratory Judgment determining Defendant at the commencement of the subject

   lawsuit were and are in violation of Title III of the Americans with Disabilities Act, 42 U.S.C. §

   12181 et seq.; (ii) Injunctive relief against Defendant including an order to make all readily
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   achievable alterations to the facilities; or to make such facilities readily accessible to and usable

   by individuals with disabilities to the extent required by the ADA; and to require Defendant to

   make reasonable modifications in policies, practices or procedures, when such modifications are

   necessary to afford all offered goods, services, facilities, privileges, advantages or

   accommodations to individuals with disabilities; and by failing to take such steps that may be

   necessary to ensure that no individual with a disability is excluded, denied services, segregated or

   otherwise treated differently than other individuals because of the absence of auxiliary aids and

   services; (iii) An award of attorneys’ fees, costs and litigation expenses pursuant to 42 U.S.C. §

   12205; and (iv) such other relief as the Court deems just and proper, and/or is allowable under

   Title III of the Americans with Disabilities Act.


   Dated: July 12, 2019
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